                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                           3:15-CR-00121-RJC-DSC



 USA                                         )
                                             )
    v.                                       )                ORDER
                                             )
 JORGE SOSA                                  )
                                             )


         THIS MATTER is before the Court upon remand from the United States

Court of Appeals for the Fourth Circuit for an evidentiary hearing on whether

appellate counsel has a conflict of interest, and if so, whether the defendant

knowingly and voluntarily waived it. (Doc. No. 1173: Order).

         For the reasons stated at the evidentiary hearing on February 16, 2018, the

Court finds that appellate counsel has no conflict of interest in representing the

defendant; that any potential conflict is waivable; and that the defendant knowingly

and voluntarily waived any potential conflict of interest.

         The Clerk is directed to certify copies of this Order to the defendant;

appellate counsel for the defendant, W. Rob Heroy; the United States Attorney; and

the Clerk of the United States Court of Appeals for the Fourth Circuit.

 Signed: February 23, 2018




   Case 3:15-cr-00121-RJC-SCR          Document 1181      Filed 02/23/18   Page 1 of 1
